            IN THE UNITED STATES DISTRICT COURT FOR THE

                       WESTERN DISTRICT OF KENTUCKY

UNITED STATES OF AMERICA,

          Plaintiff,

     v.                                  Case No.: 3:19-cr-00095-DJH-1

JOSEPHINE CROWE,

          Defendant.



DEFENDANT’S SECOND STATUS UPDATE IN SUPPORT OF URGENT MOTION TO
       REDUCE SENTENCE PURSUANT TO 18 U.S.C. § 3582(C)(1)(A)(I)
       Ms. Crowe’s risk of contracting the deadly SARS-CoV-2 coronavirus is increasing

exponentially. The satellite camp in which Ms. Crowe is housed recently recorded its first

positive case in general population. Ms. Crowe’s supervisor in the garage where she works has

COVID-19 and is out on leave. And the garage now has the responsibility of cleaning the bus

that brings inmates to the prison and the medical vans that transport the sick to the hospital or

doctor. The inmate doing the cleaning is scheduled to leave in December; next in line is Ms.

Crowe’s bunkmate, followed by Ms. Crowe herself.

       There are currently 48 active cases at FMC Lexington; 36 inmates and 12 staff. The

number of active cases is thus more than four times what it was when Ms. Crowe submitted her

last update only twelve days ago, when there were 11 active cases. And even the current count is

likely an underestimate, as only individuals who show symptoms are tested.
       Average daily deaths in the United States number nearly 1,500. This means that about

3,000 people die from COVID-19 every two days, the same number of people who died in the

horrific attacks of September 11, 2001. And experts are predicting a surge upon a surge due to

Thanksgiving travel. See Ben Kamisar, Fauci warns Thanksgiving travel could worsen Covid-19

surge, NBC News, https://nbcnews.to/3fR6SMT (November 29, 2020).




       Ms. Crowe is terrified that it is now only a matter of time before she catches the disease,

with potentially deadly consequences. She humbly and respectfully requests that the Court

consider her motion for compassionate release.




                                               -2-
DATED: November 30, 2020    PERKINS COIE LLP



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                           -3-
